            Case 2:20-cv-06393-RBS Document 29 Filed 07/12/21 Page 1 of 5




                          UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF PENNSYLVANIA

MARTHA JULIA HIDALGO VILLAFANE, §
Individually, As Executor and as Personal    §
Representative of the Estate of Martha Erika §
Alonso Hidalgo, et al.,                      §
                                             §
              Plaintiffs,                    §       Civil Action No. 2:20-cv-06393-RBS
        v.                                   §
                                             §
AGUSTA WESTLAND PHILADELPHIA §
CORPORATION, et al.,                         §
                                             §
              Defendants.                    §


PLAINTIFFS’ SURREPLY TO DEFENDANTS’ MOTION TO DISMISS PURSUANT TO
  FORUM NON CONVENIENS AND PURSUANT TO FED. R. CIV. P. 12(b)(7) FOR
       FAILURE TO JOIN NECESSARY AND INDISPENSABLE PARTIES

       Plaintiffs submit the following additional factual matters and controlling authority:

       1.       Plaintiffs have settled their claims against non-party Servicios Aèreos del

Altiplano, S.A. de C.V. (“SAA”). Attached hereto as Exhibit 1 is a true and correct copies of the

release agreement with Plaintiff Ma. Guadalupe Nancy Canales Elizalde concerning the death of

her husband Marco Antonio Romero Taveras, together with its certified translation. Settlements

and releases were also reached by the other Plaintiffs concerning the deaths of Martha Erika

Alonso Hidalgo and Hector Baltazar Mendoza.

       2.       Pursuant to the Pennsylvania Fair Share Act, 42 Pa. C.S.A., § 7102(a.2), “[f]or

purposes of apportioning liability only, the question of liability of any defendant or other person

who has entered into a release with the plaintiff with respect to the action and who is not a party

shall be transmitted to the trier of fact upon appropriate requests and proofs by any party.”

(emphasis added). Therefore, because SAA has settled and entered into a release with Plaintiffs,

Defendants can submit SAA’s liability to the jury in the present venue and dismissing the case to


                                                1
             Case 2:20-cv-06393-RBS Document 29 Filed 07/12/21 Page 2 of 5




Mexico provides no additional convenience in this respect. This fact directly rebuts Defendants’

claims of prejudice from the inability to seek apportionment of liability against SAA in section III

of their Reply concerning “necessary and indispensable parties” under Rule 19. See Reply, Doc.

22, at p. 21.

        3.       Plaintiffs would also consent, agree and/or stipulate that Defendants can apportion

liability to Rotor Flight Services, S.A. de R.L. de C.V. (“RFS”), upon appropriate requests and

proofs, if their instant Motion to Dismiss is denied and the case remains in the Eastern District of

Pennsylvania.

        4.       Defendants’ extended focus on the AFAC Report in their Reply (which should have

been contained in their initial moving papers) only underscores again that the access to sources of

proof factor in the forum non conveniens analysis weighs in favor of the U.S. as the more

convenient forum. See Opp., Doc. 18-1, at p. 16-19. Not only can Defendants pursue their defense

by seeking to apportion liability to SAA and RFS in the Eastern District of Pennsylvania for the

reasons discussed supra, all the facts needed to do so have already been gathered by the Mexican

accident investigation (with the help of Defendants’ own investigators) and detailed in the AFAC

Report. Defendants tacitly admit that they already have what they need by referring to Mexican

discovery as necessary only “in order to further develop those facts.” Reply, Doc. 22, at p. 14

(emphasis added). Defendants’ baseless speculation that the comprehensive AFAC Report,

helicopter maintenance records and other Mexican documents offered by Plaintiffs “may not even

tell the ‘whole story’” offers no explanation or justification for the convenience of Mexico as a

forum for this case. Id. at p. 16. With some simple authentication of the sources of proof already

in their possession, Defendants are already well placed to pursue their defense in the instant forum.

The sources of proof for Plaintiffs’ products liability claims, however, are overwhelming in the




                                                  2
            Case 2:20-cv-06393-RBS Document 29 Filed 07/12/21 Page 3 of 5




United States and require further discovery such that dismissing this case to Mexico would make

accessing these sources of proof costly, burdensome and inconvenient. See Opp., Doc. 18-1, at p.

16-22. Overall, the salient facts about the crash from the AFAC Report are not in dispute – one of

the Subject Helicopter’s SAS roll actuators was not functioning properly before the crash, and the

second SAS roll actuator appears to have failed during the Subject Flight and caused the crash.

Defendants’ position will be that the Subject Helicopter was allowed to fly too long by SAA and

RFS with only a single SAS roll actuator functioning properly.           Plaintiffs will argue that

Defendants nonetheless had a duty to further warn of this dangerous condition and ensure the

Subject Helicopter should never be flown in this defective state. Further, Defendants are liable for

the failure of the defective actuator with loose screws that caused the crash. All of these issues

will turn on expert analysis and testimony that can most conveniently be accessed in the United

States. See Lewis v. Lycoming, 917 F. Supp. 2d 366, 372-73 (E.D. Pa. 2013).

       5.       Defendants’ Reply repeatedly cites Plaintiffs’ separate lawsuits against Honeywell

International, Inc., and Precision Aviation Group in North Carolina and Georgia, respectively, for

the strange proposition that these claims are somehow more conveniently or appropriately litigated

in Mexico. See, e.g., Reply, Doc. 22, at p. 10, n. 5, 19 & 22. Plaintiffs respectfully submit that

Defendants’ reasoning is fundamentally flawed and that the existence of these separate suits here

in the U.S. only underscores the greater convenience of litigating this case in the United States,

particularly in the instant venue where Defendants have conceded personal jurisdiction. If the

Court nonetheless views this case as more appropriately litigated in a different venue, then

Plaintiffs would also consent to the transfer and/or FNC dismissal and re-filing of this case in

Georgia, or perhaps more appropriately, North Carolina, where it can proceed in conjunction with




                                                 3
           Case 2:20-cv-06393-RBS Document 29 Filed 07/12/21 Page 4 of 5




the already filed claims against Honeywell, the manufacturer of the failed actuator. 1 See 14 U.S.C.

§ 1404(a).

Dated: June 25, 2021
                                                      Respectfully submitted,

                                                      KREINDLER & KREINDLER LLP
                                             By:      /s/ Vincent C. Lesch
                                                      Anthony Tarricone (pro hac vice)
                                                      855 Boylston Street, Suite 1101
                                                      Boston, MA 02116
                                                      atarricone@kreindler.com

                                                      Vincent C. Lesch (pro hac vice)
                                                      485 Lexington Avenue
                                                      New York, NY 10017
                                                      vlesch@kreindler.com

                                                      KATZMAN, LAMPERT & STOLL
                                                      Bradley J. Stoll
                                                      121 North Wayne Ave.
                                                      Suite 205
                                                      Wayne, PA 19087
                                                      bstoll@klm-law.com

                                                      GONZALEZ & ASSOCIATES LAW FIRM,
                                                      P.C.
                                                      Jaime A. Gonzalez, Jr. (applicant pro hac vice)
                                                      Catherine Smith (applicant pro hac vice)
                                                      Summit Park North
                                                      817 E. Esperanza, Ave.
                                                      McAllen, TX 78501
                                                      jaime@jaglawfirm.com
                                                      cat@jaglawfirm.com

                                                      Attorneys for Plaintiffs




1
 Plaintiffs’ consent is conditional on receiving the same conditions that would accompany a transfer and/or FNC
dismissal to Mexico, including but not limited to: (1) Defendants’ agreement to submit to the jurisdiction of the
courts of North Carolina and/or Georgia; (2) Defendants agreement not raise a statute of limitations defense; and (3)
Defendants agreement to make all relevant evidence under their control available in North Carolina and/or Georgia.


                                                          4
         Case 2:20-cv-06393-RBS Document 29 Filed 07/12/21 Page 5 of 5




                               CERTIFICATE OF SERVICE
       I hereby certify that I have filed the foregoing via the Court’s CM/ECF system on July
12, 2021, which automatically generates notification of the filing to all counsel of record.


                                            /s/ Vincent C. Lesch
                                            Vincent C. Lesch




                                               5
